
269 S.E.2d 623 (1980)
300 N.C. 196
Lillian S. HARRELL, Executrix of the Estate of Louis F. Harrell, Deceased
v.
J. P. STEVENS AND COMPANY, INC., Employer and Liberty Mutual Insurance Company, Carrier.
Supreme Court of North Carolina.
May 6, 1980.
Charles R. Hassell, Jr., Raleigh, for plaintiff.
*624 Maupin, Taylor &amp; Ellis, Raleigh, for defendants.
Petition by defendants for discretionary review under G.S. § 7A-31, 45 N.C.App. 638, 262 N.E.2d 830. Denied.
